Case 4:95-cr-50061-BAF ECF No. 988 filed 01/04/19 PagelID.11927 Page1of4

IN THE UNITED STATES DISTRICT COURT | £

 

FOR THE EASTERN DISTRICT OF MICHIGAN YAN 04 2
SOUTHERN. DIVISION CLE h
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UNITED STATES OF AMERICA, DeTSOFR

CRIM. CASE NO: 95-50061
Plaintiff,

. HONORABLE BERNARD A. FRIEDMAN
Vv. SENIOR U.S. DISTRICT JUDGE

DION ERIC SAVAGE,

Defendant. /

MOTION FOR A SENTENCE REDUCTION PURSUANT TO SECTION
404 OF THE FIRST STEP ACT/CRIMINAL JUSTICE REFORM ACT,
AND MOTION TO EXPEDITE THE PROCEEDINGS

 

NOW COMES Dion Savage, proceeding Pro Se in the above
captioned-matter. The Defendant invokes the legal doctrine as
prescribed under Franklin v. Rose, 765 F.2d 82, 84-85 (6th Cir.
1985), in the instant proceedings.

Section 404 of the First Step Act of 2018, reads in
pertinent part:

A court that imposed a sentence for a covered offense

may, on motion of the defendant, the Director of the

Bureau of Prisons, the attorney for the Government,

or the court, impose a reduced sentence as if section

2 and 3 of the First Step Act of 2018 (Public Law 111

220; 124 Stat. 2372) were in effect at the time of the

covered offense was committed.

Your Honor, the initial motion pursuant to the First Step
Act/Criminal Justice Reform Act of 2018 was prepared in 2016
because I was under the assumption that Congress/Senate was going

to pass the SRCA in 2016 under then President Obama. However, as

the Court knows that did not take place. On December 20, 2018,
Case 4:95-cr-50061-BAF ECF No. 988 filed 01/04/19 PageID.11928 Page 2 of4

I filed the § 3582(c)(2) Motion which became law on December

24, 2018 because the First Step Act/Criminal Justice Reform Act

of 2018 made the Fair Sentencing Act fo 2010 retroactive, which

in turn eradicated my mandatory minimum life sentence under §
848(b)(1.5 KG, § 841(b)(1)(B) (iii) 300 times the quantity described
in § 841(b)(1)(B)(iii), to a- Guidelines Range sentence of 210 to
262 months (minus 2-points for Amendment 706, minus 4-BOL points

for Amendment 750 & minus 2-BOL points for Amendment 782. Under

the FSA it requires 8.4 KG of crack to trigger the mandatory minimum
life sentence under § 848(b). The conspiracy of Eric Simpson,
Mark Anderson, Martez Coleman and the Defendant was held responsible
for 1.5 KG of crack cocaine, and for the record all of the above
co-defendants received the benefits of A1L three of the aforementioned
Amendments and ALL three codefendants are out of prison). To be
sure, now that the law has changed and the FSA of 2010 is retroactive,
the Defendant should be able to reap the benefits of ALL three
Amemdments (706, 750 & 782).

Your Honor, the Defendant has been incarcerated for 258 months

and my children are 37, 31, 28 & 26 respectively and I now have

7 grandchildren. My mother and father, both of which have retired
from GM, are now 7/7 and 79 years of age respectively. I have been

a model prisoner. I love the read and learn the law. I work in

the Law Library and have been since I arrived here at FCI Pekin
(3/26/11). I have not received an incident report in well over

15 years. I am not a threat to the community or to no one, for
Case 4:95-cr-50061-BAF ECF No. 988 filed 01/04/19 PagelID.11929 Page 3of4

that matter.

I am not completely sure if the instant proceedings is required
to be filed under § 3582(c)(2) or under Section 404 of the First
Step Act/Criminal Justice Reform Act of 2010. Thus, out of the
abundance of caution, I implore the Court to construe my requests
for a sentence reduction under the appropriate statute which invokes
the Court's jurisdiction and provides the Court the discretion to
reduce my "draconian" mandatory minimum life sentence to a sentence
of 240, and to apply all of the extra time that I have done over
the 240 sentence to the reduction of time off of my supervised
release in accord with Johnson, supra.

WHEREFORE, the Defendant respectfully requests the Court
to grant the relief requested above.

CERTIFICATE OF SERVICE

I hereby certify that a true and complete copy of the fore-

going Motion has been placed in U.S. First Class Mail, this day

of December 31, 2018, with the postage to the party below:

   

U.S. Attorney's Office ; -
210 Federal Building lon Eric Savage 19734-039
600 Church Street FCI Pekin
Flint, Mich 48503 P.O. Box 5000
Pekin, IL 61555

 
 

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US District Court
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01/04/19 PagelD.11930 Page 4of 4

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